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 ...
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                       UNITED STATES DISTRICT COURT                    CLEHK US DISTRICT COURT
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                      SOUTHERN DISTRICT OF CALIFORNI               SOU
                                                                   BY                       DEPUTY




UNITED STATES OF AMERICA,                   Magistrate Docket No.1     9MJ 1 9 Q0
                Plaintiff,                  COMPLAINT FOR VIOLATION OF:

          v.                                18 U.S.C. §§ 247(a)(2), 247(d)(l) and
                                            247(d)(3)- Obstruction of Free Exercise of
JOHN TIMOTHY EARNEST,                       Religious Beliefs Resulting in Death and
                                            Bodily Injury; and Involving Attempt to Kill,
                Defendant.                  Use of a Dangerous Weapon; 18 U.S.C.
                                            § 249(a)(l)(B)(i)(ii)-Hate Crime Acts;
                                            18 U.S.C. §§ 247(a)(l), 247 (d)(3) -
                                            Damage to Religious Real Property
                                            Involving Use of a Dangerous Weapon or
                                            Fire


         The undersigned complainant, being duly sworn, states:

                                      COUNTl

       On or about April 27, 2019, in the Southern District of California, defendant
John Timothy Earnest intentionally obstructed, by force, victim L.G-K. in the
enjoyment of her free exercise of religious beliefs and the offense was in and affected
interstate commerce. The acts of defendant John Timothy Earnest resulted in the
death ofL.G-K.

All in violation of Title 18, United States Code, Sections 247(a)(2) and 247(d)(l).

                                    COUNTS 2-4

      On or about April 2 7, 2019, in the Southern District of California, defendant
John Timothy Earnest intentionally obstructed, by force and threat of force, each
victim listed below in the enjoyment of that victim's free exercise of religious beliefs
and the offense was in and affected interstate commerce. The acts of defendant John
Timothy Earnest included an attempt to kill, and resulted in bodily injury to, each
victim in Counts 2 through 4; the acts also included the use, attempted use, and

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threatened use of a dangerous weapon, to wit, a Smith & Wesson Model M&P 15
Sport II semi-automatic rifle, bearing serial number ending in 950.

                            COUNT          VICTIM
                              2              Y.G.
                              3              A.P.
                              4              N .D. , a juvenile

All in violation of Title 18, United States Code, Sections 247(a)(2), 247(d)(l) and
247(d)(3).

                                   COUNTS 5-54

       On or about April 2 7, 2019, in the Southern District of California, defendant
John Timothy Earnest intentionally obstructed, by force and threat of force, each
victim listed below in the enjoyment of that victim's free exercise of religious beliefs
and the offense was in and affected interstate commerce. The acts of defendant John
Timothy Earnest included an attempt to kill each victim in Counts 5 through 54, and
the use, attempted use, and threatened use of a dangerous weapon, to wit, a Smith &
Wesson Model M&P 15 Sport II semi-automatic rifle, bearing serial number ending
in 950.

                          COUNT                VICTIM
                             5                  S.A.
                             6                  D.A.
                             7                  N.A. , ajuvenile
                             8                  Y.A., a juvenile
                             9                  I.A.
                             10                 J.A.
                             11                 Ja.A.
                             12                 F.A.
                             13                 A.A.
                             14                 Z.B.
                             15                 J.M.C.
                             16                 L.C.
                             17                 J.C.
                             18                 D.C.
                             19                 N.C.
                             20                 I.D .
                             21                 L.D., ajuvenile
                             22                 Li.D., a juvenile
                             23                 M.D .
                             24                 R. E., a juvenile
                             25                 T.E.
                             26                 P.F.
                             27                 G.F.

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                         COUNT                VICTIM
                            28                 S.G.
                            29                 C.G., ajuvenile
                            30                 R.G., ajuvenile
                            31                 Yo.G., ajuvenile
                            32                 M.G.
                            33                 Ye.G.
                            34                 J.H.
                            35                 R.I.
                            36                 R.K.
                            37                 H.K.
                            38                 Ha.K.
                            39                 A.L.
                            40                 A.M.
                            41                 J.M.
                            42                 R.P.
                            43                 G.P.
                            44                 S.P.
                            45                 R.S .
                            46                 H.S.
                            47                 K.S.
                            48                 L.S.
                            49                 A.S., a juvenile
                            50                 O.S.
                            51                 K.T.
                            52                 S.T., a juvenile
                            53                 N.T., a juvenile
                            54                 A.T., a juvenile

All in violation of Title 18, United States Code, Sections 247(a)(2), 247(d)(l) and
247( d)(3).

                                    COUNT 55

       On or about April 27, 2019, in the Southern District of California, the
defendant, John Timothy Earnest, willfully caused bodily injury to L.G-K., because
of the actual and perceived race of any person. The offense resulted in the death of
L.G-K.

All in violation of Title 18, United States Code, Section 249(a)(l)(B)(i).

                                  COUNTS 56-58

      On or about April 27, 2019, in the Southern District of California, the
defendant, John Timothy Earnest, willfully caused bodily injury to the victims listed


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below, because of the actual and perceived race of any person. The offenses
included an attempt to kill each victim listed in Counts 56 through 58 .

All in violation of Title 18, United States Code, Section 249(a)(l)(B)(ii).


                           COUNT            VICTIM
                                 56           Y.G.
                                 57           A.P.
                                 58           N.D.

                                      COUNTS 59-108

       On or about April 27, 2019, in the Southern District of California, the
defendant, John Timothy Earnest, through the use of a firearm, willfully attempted
to cause bodily injury to the victims listed below, because of the actual and perceived
race of any person. The offenses included an attempt to kill each victim listed in
Counts 59 through 108.

                          COUNT                 VICTIM
                            59                   S.A.
                            60                   D.A.
                            61                   N.A., ajuvenile
                            62                   Y.A., ajuvenile
                            63                   I.A.
                            64                   J.A.
                            65                   Ja.A.
                            66                   F.A.
                            67                   A.A.
                            68                   Z.B.
                            69                   J.M.C .
                            70                   L.C.
                            71                   J.C.
                            72                   D.C.
                            73                   N.C.
                            74                   I.D.
                            75                   L.D., ajuvenile
                            76                   Li.D., ajuvenile
                            77                   M.D.
                            78                   R.E., a juvenile
                            79                   T.E.
                            80                   P.F.
                            81                   G.F.


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                          COUNT               VICTIM
                            82                 S.G.
                            83                 C.G., ajuvenile
                            84                 R.G., ajuvenile
                            85                 Yo.G., ajuvenile
                            86                 M.G.
                            87                 Ye.G.
                            88                 J.H.
                            89                 R.I.
                            90                 R.K.
                            91                 H.K.
                            92                 Ha.K.
                            93                 A.L.
                            94                 A.M.
                            95                 J.M.
                            96                 R.P.
                            97                 G.P.
                            98                 S.P.
                            99                 R.S.
                            100                H.S.
                            101                K.S.
                            102                L.S.
                            103                A.S., ajuvenile
                            104                O.S.
                            105                K.T.
                            106                S.T., ajuvenile
                            107                N.T., ajuvenile
                            108                A.T., ajuvenile

All in violation of Title 18, United States Code, Section 249(a)(l)(B)(ii).




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                                   COUNT 109

      On or about March 24, 2019, in the Southern District of California, defendant
John Timothy Earnest, intentionally defaced, damaged, and destroyed religious real
property, that is, the Dar-ul-Arqam Mosque and Islamic Center, 318 West 6th
Avenue, Escondido, California, because of the religious character of that property,
and attempted to do so, through the use and attempted use of fire, and the offense
was in and affected interstate and foreign commerce.

All in violation of Title 18, United States Code, Sections 247(a)(l) and 247(d)(3).

      And the complainant states that this complaint is based on the attached
statement of facts, which is incorporated herein by reference.


                                             ~~~
                                               ~M~ey~e-r~~~~~~~
                                             Special Agent
                                             Federal Bureau of Investigation

SWORN TO BEFORE ME AND SUBSCRIBED IN MY PRESENCE,
      c'fk--
Tms   _o_ DAY OF May 2019.

                                                      tates Magistrate Judge




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CONTINUATION OF COMPLAINT RE:
JOHN TIMOTHY EARNEST

                             STATEMENT OF FACTS

      I, Benjamin Meyer, being duly sworn, depose and state:

      1.     Your Affiant is employed as a Special Agent of the Federal Bureau of

Investigation ("FBI") and has been so employed for more than 8 years. As an FBI

Special Agent, I am primarily responsible for investigating possible violations of

federal civil rights, including violations of Title 18, United States Code, Sections

247 and 249. During my career as an FBI Special Agent, I have been involved in

the execution of numerous search and seizure warrants, arrests for violations of state

and Federal laws, and have authored affidavits in support thereof.

      2.     This affidavit is submitted in support of a criminal complaint charging

JOHN TIMOTHY EARNEST with fifty-four counts of Obstruction of Free Exercise

of Religious Beliefs Involving Attempt to Kill, Use of a Dangerous Weapon, and

Resulting in Death and Bodily Injury, and fifty-four counts of Hate Crimes, in

relation to his April 27, 2019, shooting at the Chabad of Poway Synagogue, and one

count of Damage to Religious Property by Use of Fire, in relation to his March 24,

2019, arson of the Dar-ul-Arqam Mosque and Islamic Center in Escondido, all in

violation of Title 18, United States Code, Sections 247(a)(l) & (2), 247(d)(l),

247(d)(3), 249(a)(l)(B)(i) and 249(a)(l)(B)(ii).



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      3.     Title 18, United States Code, Section 247(a)(l) makes it a crime to

deface, damage, or destroy religious real property by fire, when such acts are in or

affect interstate or foreign commerce.        Section 247(a)(2) makes it a crime to

intentionally obstruct, or attempt to do so, by force or threat of force, any person in

the enjoyment of that person's free exercise of religious beliefs, and said offense is

in or affects interstate or foreign commerce.      Sections 24 7(d)(l) and 24 7( d)(3)

provide enhanced penalties when such offense involves an attempt to kill, or the use,

attempted use, or threatened use of fire or a dangerous weapon, or when such offense

results in death or bodily injury.

      4.     Title 18, United States Code, Section 249(a)(l) makes it a crime to

willfully cause bodily injury to any person or, through the use of a firearm, to

willfully attempt to cause bodily injury to any person because of the actual or

perceived race, color, religion, or national origin of any person.             Section

249(a)(l)(B)(i) and (ii) provide enhanced penalties if death results or the offense

includes an attempt to kill.

                                The Poway Synagogue

      5.     On April 27, 2019, JOHN TIMOTHY EARNEST, aged 19, entered the

Chabad of Poway Synagogue ("Synagogue") at 16934 Chabad Way, Poway,

California. At the time, the individuals listed in Counts 1-108 were in attendance at




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the Synagogue and freely and peacefully exercising their religious beliefs on the

Sabbath and last day of Passover.

      6.     EARNEST arrived at the Synagogue in a gray 2012 Honda Civic sedan,

and was armed with an AR-15 style semi-automatic rifle, which was fully loaded

with a 10-round magazine. EARNEST was also wearing an ammunition chest rig,

which contained an additional five magazines, each loaded with ten rounds of

ammunition. In total, EARNEST had 60 rounds of ammunition.

      7.     EARNEST approached the open door of the Synagogue and fired

rounds from his AR-15 style rifle, immediately striking victim L.G-K., who was

standing in the atrium/lobby area of the Synagogue. EARNEST then further entered

the lobby area and fired additional rounds at victim Y.G., wounding victim Y.G.

EARNEST continued to fire rounds in the direction of the open doors of the

Sanctuary an~ an adjacent banquet hall (the "Banquet Hall"), until the ten-round

magazine was empty.

      8.     The rifle fire or fragmentation caused by the rifle fire resulted in bodily

injuries to at least four members of the congregation, victims L.G-K., Y.G., A.P. and

N.D., a juvenile.    Shortly thereafter, San Diego County Sheriffs Department

("SDSD") Deputies arrived at the scene along with paramedics. The four shooting

victims, L.G-K., Y.G., A.P. and N.D., were transported to the hospital for treatment




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of their wounds. Victim L.G-K. was later pronounced dead at the hospital as a result

of injuries from the rifle fire.

       9.     Based on a subsequent review of surveillance video from the

Synagogue, it appears that EARNEST unsuccessfully attempted to reload the

firearm in order to continue firing more rounds at the congregants, while several

members of the congregation moved to confront him.

       10.    EARNEST then fled the Synagogue, as several congregant members,

including an off-duty Border Patrol Agent, gave chase. The Border Patrol Agent

fired multiple rounds at EARNEST as he got into his Honda Civic sedan, which was

parked across the street. EARNEST then fled the scene in the car.

       11.    The Sanctuary is where the Synagogue's religious services are held.

The Banquet Hall is located adjacent to the Sanctuary and serves multiple purposes.

During religious services, the Banquet Hall is also used as a play room/care center

for the children of the congregants who are attending services. The Banquet Hall

has a rear door that accesses an outdoor play area. At the time of the shooting, the

rear door was open. There were at least 54 persons, including children, at the

Synagogue who were engaged in religious services. Approximately 30-plus persons

were in the Sanctuary; the other persons were in nearby rooms/facilities, including

the Banquet Hall and the children's play area immediately outside the Banquet Hall.




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      12.   After EARNEST fled the scene, he called 911 from his car and

identified himself as the shooter at the Synagogue. Among other things, EARNEST

stated, "I just shot up a synagogue. I'm just trying to defend my nation from the

Jewish people ... They're destroying our people ... I opened fire at a synagogue. I

think I killed some people." EARNEST added that he shot people in the Synagogue

"because the Jewish people are destroying the white race."

      13.   During the 911 conversation, EARNEST stated that he was willing to

surrender to authorities. He stated that he had an AR-15, Smith and Wesson, M&P

15 rifle, which he would leave in his car when officers arrived. He also stated that

he was wearing a chest rig, which contained additional ammunition. The 911 officer

asked him to remove ammunition from the vest and leave that in the car. Law

enforcement officers located EARNEST at the location he described and arrested

him. A state search warrant was subsequently executed on the Honda Civic sedan.

During the search, an officer seized a Smith & Wesson Model M&P 15 Sport II

semi-automatic rifle, bearing serial number ending in 950, with an attached

magazine, which was empty, and five additional magazines, which were each loaded

with ten rounds of ammunition.

      14.   After the shooting at the Synagogue, law enforcement investigators

found a manifesto, bearing EARNEST'S name, which was uploaded to

Mediafire.com and Pastebin.com before the shooting. In the manifesto, which he


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named "An Open Letter," EARNEST made many anti-Semitic and anti-Muslim

statements. EARNEST explicitly referred to "Jews" as a race. EARNEST also

stated that his only regret is that he did not kill more "Jews," i.e., "As an individual,

I can only kill so many Jews." EARNEST went on to write that, "Every Jew plays

his part to enslave the other races." EARNEST also admitted to the arson of an

Escondido mosque in March 2019. EARNEST stated that Robert Bowers, who is

charged with shooting and killing 11 congregants at the Tree of Life synagogue in

Pittsburgh, Pennsylvania, and Brenton Tarrant, who is charged with shooting and

killing 50 congregants at two mosques in New Zealand, were inspirations for him.

      15.    Law enforcement officers subsequently executed state search warrants

on EARNEST's residence and electronic devices. During a search of EARNEST's

laptop, which was seized from his residence, agents found EARNEST'S Open

Letter/Manifesto and a copy of a web posting written by Brenton Tarrant.

      16.    Agents from the Bureau of Alcohol, Tobacco, Firearms and Explosives

(ATF) subsequently conducted a trace of the semi-automatic assault rifle seized from

EARNEST's vehicle and determined the following:

             a.     The firearm was manufactured by Smith & Wesson in Princeton,

Illinois and shipped to Springfield, Massachusetts where it was assembled.




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             b.     The firearm was ultimately transferred, via Fort Worth, Texas, to

a Federal Firearm Licensed (FFL) Dealer in San Diego, California, which sold the

firearm to EARNEST. EARNEST picked up the rifle on April 26, 2019.

      17.    The Synagogue is involved in activities that affect interstate and/or

foreign commerce.     Among other things, the Synagogue complex consists of a

licensed preschool, the Chai Preschool and Infant Center, and a gift shop. The Chai

Preschool is a licensed full-time preschool for children ages 2 to 5 years old, with

paid teachers and staff. The Infant/Toddler Program offers daycare for children 6

weeks to 23 months. Membership is open to the public for a fee; students and family

members need not be members of the Synagogue.           In addition, the Synagogue

operates the Friendship Circle, a non-profit organization dedicated to providing

support to individuals with special needs and their families by providing educational

programming. The Friendship Circle is part of an international organization, and

currently serves 150 families with the assistance of approximately 400 specially

trained teenage and adult volunteers.

                              The Escondido Mosque

      18.    EARNEST admitted in his "open letter" or manifesto to setting fire to

an Escondido mosque in March 2019. That is consistent with an arson at the Dar-

ul-Arqam Mosque and Islamic Center (the "Escondido Mosque"), located at 318

West 6th Avenue in Escondido, California. The arson occurred on March 24, 2019,


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at approximately 3:15 a.m., nine days after the March 15, 2019 mass shootings at

two New Zealand mosques by Brenton Tarrant.

      19.    Specifically, the manifesto stated:

      I scorched a mosque in Escondido with gasoline a week after Brenton
      Tarrant's sacrifice and they never found shit on me (I didn't realize
      sandn ****** were sleeping inside though-they woke up and put out
      the fire pretty much immediately after I drove away which was
      unfortunate. Also they didn't report the message I spray-painted on the
      parking lot. ... It is so easy to ... get away with burning a synagogue
      (or mosque) to the ground if you 're smart about it. You can even shoot
      up a mosque, synagogue, immigration center, traitorous politicians,
      wealthy Jews in gated communities, Jewish-owned company buildings,
      etc.

      20.   The Escondido Mosque is one of seven Tablighi Jamaat ("TJ")

mosques in San Diego County that are all overseen by one emir. TJ is an Islamic

missionary movement. In this capacity, a TJ mosque is recognized as a travel

destination for Islamic worshipers. In the United States, TJ mosques regularly host

families and travelers from foreign countries and worshippers from other states who

travel through an area or travel to the mosque for prayer or study. All seven of the

San Diego County TJ mosques including the Escondido Mosque, regularly host

overnight guests.   These travelers come from out of state and out of the

country. When a guest comes to San Diego, he may stay in one or more of the seven

TJ mosques during his visit. Visits may last anywhere from three days to four

months. The guests pay their own travel expenses and pay for their own food while

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visiting the seven mosques. Although it is not required, the guests will often leave

donations to help defer the costs of the stay at a mosque.

      21.    Prior to the attempt to bum down the Escondido Mosque, the Escondido

Mosque hosted guests from out of state. Since the arson, the Escondido Mosque has

hosted travelers from out of state. The emir of the Mosque was in Colorado and

potential guests expressed concerns about coming to San Diego in light of the recent

attack. Specifically, at least one potential guest had expressed concern about white

supremacists in San Diego.

      22.    An investigation of the arson of the Escondido Mosque by the ATF,

Escondido Police Department and the FBI revealed the following:

             a.    At the time of the arson, approximately seven individuals were

staying overnight at the Escondido Mosque for spiritual development. In the early

morning hours of March 24th, one of the individuals was sleeping in an area adjacent

to the west wall of the mosque. At approximately 3:15 a.m., that individual smelled

gasoline, and observed flames coming through the crack at the bottom of the west

wall door. He retrieved water from the kitchen in an attempt to extinguish the fire.

When he opened the door, he observed the flames on the outside of the west wall.

With the assistance of the others staying at the mosque, they put out the fire.

             b.    First responders and law enforcement agents responded to the

scene and observed smoke staining or charring along approximately half the length


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of the west side of the mosque, including an exterior door. In addition, they observed

that the heat from the fire cracked a window and there was low level burning and

smoke staining to the threshold and interior doorjamb of the exterior door. Near the

location of the fire, first responders also noticed the odor of what they believed was

gasoline. An ATF Senior Special Agent/Certified Fire Investigator subsequently

conducted an origin and cause investigation of the fire scene. Preliminary findings

revealed that the fire was incendiary in nature, and deliberately set by the use of an

accelerant, such as gasoline, which was distributed in and around the only exterior

door on the west side of the structure.

             c.       First responders and law enforcement officers also observed that

someone had used white spray paint to leave a message on the asphalt parking lot

which referred to Brenton Tarrant. EARNEST referenced the identical message in

his manifesto. The exact message left by the arsonist was never revealed to the

public by law enforcement while subsequent media reports reported that the arsonist

left a message referring to the New Zealand mass shooting.

             d.       Law enforcement investigators subsequently obtained video
                  '
surveillance footage from a business across the street, as well as video surveillance

footage from businesses located along possible routes to the mosque. Surveillance

footage from March 24, 2019, showed the suspect arriving at the mosque in a vehicle

at approximately 3:00 a.m. , as well as part of the suspect vehicle' s route of travel to


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the mosque. Upon examining the video footage of the suspect vehicle, including its

features, law enforcement believed that the vehicle was likely a silver 2010-2015 4-

door Honda Civic sedan. As noted above, EARNEST drove a gray 2012 4-door

Honda Civic Sedan in committing the shootings at the Synagogue.




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